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           EXHIBIT 11
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From:                                     Kevin Elliott <apexsolutions.kevin@gmail.com>
Sent:                                     Friday, April 5, 2024 1:41 PM
To:                                       Melissa Andretta (AIR)
Cc:                                       Cathy Widener (AIR); Charles Schuler (AIR) (he/him/his); Doug Yakel (AIR); Dyanna
                                          Volek (AIR); Grier Mathews (AIR)
Subject:                                  Re: Thoughts re the OAK proposed name change



Boo. They should just sit it out. What next... Los Angeles Burbank International Airport?



Kevin Elliott
Apex Solutions
+1(415)307-1252
apexsolutions.kevin@gmail.com
https://url.avanan.click/v2/ www.apexsolutions.lIc .YXAzOnNmZHQyOm E6bzpiN2VjYWY4MmU0OTMzYWIxYWJIZ
DNhYTA4OTUyMzYzZjo2OmQ4ODI6ZGE4OWlyZjA5NDdmN2Y5MTQxNDZhMWM4OGRkNWM2MzIxZjEwMTQ2N2M4Mj
QwYmRjOGQ3ZGZjZTI0MTU3MjJhYTp0OkY



On Fri, Apr 5, 2024 at 1:35 PM Melissa Andretta (AIR) <melissa.andretta@flysfo.com> wrote:

 Yes, add Visit California as tentative. I'm also working on some large inbound California travel agencies and tour
 operators.




 Just got this text from Visit California:




 Still trying to thread the needle for support. OK to let you know Monday am?




 Melissa Andretta

 Director of Aviation Marketing and Development
 San Francisco International Airport I P.O. Box 8097 I San Francisco, CA 94128
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From: Dyanna Volek (AIR) <Dyanna.Volek@flysfo.com>
Sent: Friday, April 5, 2024 12:31 PM
To: Melissa Andretta (AIR) <melissa.andretta@flysfo.com>; Cathy Widener (AIR) <Cathy.Widener@flysfo.com>; Kevin
Elliott <apexsolutions.kevin@gmail.com>; Charles Schuler (AIR) (he/him/his) <Charles.Schuler@flysfo.com>; Grier
Mathews (AIR) <grier.mathews@flysfo.com>; Doug Yakel (AIR) <Doug.Yakel@flysfo.com>
Subject: Re: Thoughts re the OAK proposed name change




not aware*




Dyanna Volek (preferred pronouns: she/her/hers)
Manager I Government Affairs




From: Dyanna Volek (AIR) <Dyanna.Volek@flysfo.com>
Sent: Friday, April 5, 2024 12:29 PM
To: Melissa Andretta (AIR) <melissa.andretta@flysfo.com>; Cathy Widener (AIR) <Cathy.Widener@flysfo.com>; Kevin
Elliott <apexsolutions.kevin@gmail.com>; Charles Schuler (AIR) (he/him/his) <Charles.Schuler@flysfo.com>; Grier
Mathews (AIR) <grier.mathews@flysfo.com>; Doug Yakel (AIR) <Doug.Yakel@flysfo.com>
Subject: Re: Thoughts re the OAK proposed name change




One minor edit - Mullin not Mullen




Should we add Visit California letter as tentative?




Rita found out through Julie Lind that Airport Labor Coalition was to aware of the OAK effort. They will bring it up in
their April meeting, which Rita is following up to see when that will be.




San Mateo County BoS Resolution is moving forward. It will be on Tuesday the 9th in the morning and they want an SFO
representative to make brief comments.



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Dyanna Volek (preferred pronouns: she/her/hers)
Manager I Government Affairs




From: Melissa Andretta (AIR) <melissa.andretta@flysfo.com>
Sent: Friday, April 5, 2024 11:15 AM
To: Cathy Widener (AIR) <Cathy.Widener@flysfo.com>; Kevin Elliott <apexsolutions.kevin@gmail.com>; Charles Schuler
(AIR) (he/him/his) <Charles.Schuler@flysfo.com>; Grier Mathews (AIR) <grier.mathews@flysfo.com>; Doug Yakel (AIR)
<Doug.Yakel@flysfo.com>; Dyanna Volek (AIR) <Dyanna.Volek@flysfo.com>
Subject: RE: Thoughts re the OAK proposed name change




Cathy,




The document looks great. You can add these carriers to the pending list:




Aeromexico

Air Canada

British Airways

Condor

Flair

Frontier

TAP

Qantas

Virgin Atlantic




We have other asks out, but I am most confident about the above.




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Melissa Andretta

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From: Cathy Widener (AIR) <Cathy.Widener@flysfo.com>
Sent: Friday, April 5, 2024 10:04 AM
To: Kevin Elliott <apexsolutions.kevin@gmail.com>; Melissa Andretta (AIR) <melissa.andretta@flysfo.com>; Charles
Schuler (AIR) (he/him/his) <Charles.Schuler@flysfo.com>; Grier Mathews (AIR) <grier.mathews@flysfo.com>; Doug
Yakel (AIR) <Doug.Yakel@flysfo.com>; Dyanna Volek (AIR) <Dyanna.Volek@flysfo.com>
Subject: RE: Thoughts re the OAK proposed name change




Thanks all. I've attached the strategies document I plan to share with Ivar this afternoon, as well as Kevin's email
(thanks again!)




Please review and edit however you think helpful.

Happy Friday!

Cathy




Cathy Widener

Chief External Affairs Officer

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From: Kevin Elliott <apexsolutions.kevin@gmail.com>
Sent: Thursday, April 4, 2024 3:08 PM
To: Cathy Widener (AIR) <Cathy.Widener@flysfo.com>; Melissa Andretta (AIR) <melissa.andretta@flysfo.com>; Charles
Schuler (AIR) (he/him/his) <Charles.Schuler@flysfo.com>; Grier Mathews (AIR) <grier.mathews@flysfo.com>; Doug
Yakel (AIR) <Doug.Yakel@flysfo.com>; Dyanna Volek (AIR) <Dyanna.Volek@flysfo.com>
Subject: Thoughts re the OAK proposed name change




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Cathy,




Thank you for including me in your conversation earlier this afternoon. I'll start by stating the obvious: this move
toward a confusing name change at OAK is ludicrous and I won't be the least bit surprised if it ultimately comes to
nothing. I wish we had another month to work on this! The agenda item for a vote next week on April 11, 2024, would
direct staff to move to implement the new name which their agenda has as San Francisco Bay Oakland International
Airport. The agenda includes a staff report that says:

         "If the Board approves the requested name change, Port Staff is prepared to implement a multiphase, multi-
         faceted rollout plan with one week, 30-, 60- and 90-day benchmarks and coordination of implementation steps
         with various stakeholders. Port Staff will also initiate a programmatic approach to projects necessary to update
         signage and other items and materials as appropriate. The popular "I FLY OAK" logo will continue to be used as
         the Airport's logo for the foreseeable future."

That is where I see an opening to slow the roll on this and help drive the initiative to an end that does not see the
implementation of that new name. A few thoughts from our conversation that might inform your ongoing discussions
with Ivar:

    • With a vote scheduled for April 11, there is very little time for you to do anything meaningful that might bring a
       different outcome. My instinct tells me that the interim director of aviation, Craig Simon, must believe that he
       has the votes he will need for this matter to be approved next week. Trying to bend that arc to a different
       outcome in six days is not a good path for SFO.
    • Though the staff report in the agenda describes a 30-60-90 path to implementation, that is not realistic. But it is
       a window that should create opportunity to raise the questions and reframe the issue. For example, the staff
       report in the agenda for next week says that there will be no incremental costs to this move that are not
       already budgeted. Nuts. Unless they've already budgeted a significant sum for this purpose, the money it will
       take to change signage, market the new name and avoid certain confusion, will come from other operation
       funds. Something will have to give.
    • Sharpening your tone on social media or having any voice of the Airport be raised in any more aggressive
       opposition to next week's vote is certainly inadvisable. You have a strong sterling brand image and bloodying it
       with no likely change in the outcome is not a good idea.
    • The clear voice you've had thus far in the statement from Ivar makes good sense. You're standing for clarity and
       against confusion. Taking that further to an op-ed is a reasonable step in the right direction. Campaigning any
       more openly against the proposal is not a good idea.

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    • Encouraging your industry partners to express their concerns is a good idea but won't likely change the outcome
       next week. But it will be the start of a longer term play that will hopefully end the idea of the name change to
       include the confusion of the name San Francisco.
    • You should urge commissioner-to-commissioner contact suggesting some level of collaboration following the
       vote. That would be your effort to get OAK commissioners to explicitly and openly encourage collaboration
       following the vote next week. If you choose that route, you could play a longer game that will allow time for
       the questions that need to be asked and answered about this proposal that might ultimately derail it.

I hope this is helpful, Cathy. It's just a few notes on the back of the matchbook following our conversation. You know
I'm ready to help if we can do anything further with you on this.




Kevin




Kevin Elliott

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